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      GRACE CHO
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      GRACE CHO,                                        Case No.: 2:19-cv-10727-CJC (JPRx)
11
12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
14                                                      WITH PREJUDICE
      NORTH AMERICA ENTERPRISE
15    INVESTMENT INC. D/B/A LOS FELIZ
16    CHEVRON; and DOES 1 through 10,

17
                   Defendants.
18
19
20          PLEASE TAKE NOTICE that MISTER BAILEY

21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby

22    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil

23    Procedure Rule 41(a)(1) which provides in relevant part:
24          (a) Voluntary Dismissal.
25                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26                        and any applicable federal statute, the plaintiff may dismiss an action
27                        without a court order by filing:
28


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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:19-cv-10727-CJC-JPR Document 11 Filed 03/09/20 Page 2 of 2 Page ID #:49




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5
      Court.
 6
 7    DATED: March 9, 2020 SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
